                  Case 2:19-cr-00192-DC Document 27 Filed 03/05/20 Page 1 of 1

                                       IN THE UNITED STATES DISTRICT COURT
                                         EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                Plaintiff,
                                                                                                     FILED
                        V.

JUAN CARLOS VASQUEZ-OROZCO,

                                Defendant.


                                   APPLICATION FOR WRIT OF HABEAS CORPUS
             The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                        IZl Ad Prosequendum                                 D Ad Testificandum
 Name of Detainee:      JUAN CARLOS VASQUEZ-OROZCO
 Detained at            Sacramento County Jail
 Detainee is:           a.)       IZl charged in this district by:    IZl Indictment     D Information D Complaint
                                     charging detainee with:
                   or   b.)       D a witness not otherwise available by ordinary process of the Court

 Detainee will:         a.)       IZl return to the custody of detaining facility upon termination of proceedings
                   or   b.)       • be retained in federal custodv until final disoosition of federal charges. as a sentence
                                     is currently being served at the detaining facility

                Appearance is necessary on March 10, 2020 at 2:00 P.M. in the Eastern District of California.

                        Signature:                                   /s/ Justin L. Lee
                        Printed Name & Phone No:                     Justin L. Lee, (916) 554-2700
                        Attorney of Record for:                      United States of America

                                                WRIT OF HABEAS CORPUS
                              IZl Ad Prosequendum                                  •
                                                                      Ad Testificandum
         The above application is granted and the above-named custodian, as well as the United States Marshal Service for
this district, is hereby ORDERED to produce the named detainee, on March 10, 2020 at 2:00 P.M., and any further
proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named
custodian.
 Dated:
                                                                 Honorable Allison Claire
                                                                 U.S. MAGISTRATE JUDGE

Please provide the following, if known:
 AKA(s) (if              JAUN VASQUEZ-OROZCO                                                  IZIMale   • Female
 Booking or CDC#:        10176526                                                             DOB:      --/--/1999
 Facility Address:       651 I Street, Sacramento, CA 95814                                   Race:
 Facility Phone:                                                                              FBI#:
 Currently

                                                    RETURN OF SERVICE
 Executed on:
                                                                 (signature)
